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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              :
 UNITED STATES OF AMERICA                     :
                                              :        CASE NO. 21-CR-587 (ABJ)
                  v.                          :
                                              :
 JOHN A. SCHUBERT, JR.,                       :
                                              :
                 Defendant.                   :

 UNITED STATES OF AMERICA                     :
                                              :
                  v.                          :        CASE NO. 21-CR-588 (ABJ)
                                              :
 AMY SCHUBERT,                                :
                                              :
                 Defendant.                   :


                RESPONSE TO ORDER REGARDING VIDEO EXHIBIT RELEASE

        The United States of America, by and through its attorney, the United States Attorney for the

District of Columbia, hereby responds to the Court’s March 1, 2022 Minute Order, directing the government

to submit to the Court a notice regarding videos of the defendants’ entry into the Capitol Building and their

activities or provide the videos to the Court via a flash drive or USAfx. The government has uploaded the

following eight videos to USAfx and made them available to the Court and defense counsel:

        1.      Exhibit 1 - Senate Wing Door;

        2.      Exhibit 2 - Rotunda North;

        3.      Exhibit 3 – Rotunda South;

        4.      Exhibit 4 – Statuary Hall Connector;

        5.      Exhibit 5 – Statuary Hall;

        6.      Exhibit 6 – East Stairs;


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7.      Exhibit 7 – Upper House Door Interior;

8.      Exhibit 8 – East Front House Door.

The government has no objection to the public release of the videos submitted to this Court.

                                        Respectfully submitted,

                                        MATTHEW GRAVES
                                        United States Attorney
                                        DC Bar No. 415793


                                By:       /s/ ANITA EVE
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                               CERTIFICATE OF SERVICE

       On this 4th day of March 2022, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.



                                                     /s/ Anita Eve
                                                     Anita Eve
                                                     Assistant United States Attorney




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